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    10
                             UNITED STATES DISTRICT COURT
    11
                           CENTRAL DISTRICT OF CALIFORNIA
    12
                                      WESTERN DIVISION
    13
    14 GOLDEN BOY PROMOTIONS,                      Case No. 2:15-cv-3378-JFW (MRWx)
       LLC, et al.,
    15                                             EXCERPTED DEPOSITION
                    Plaintiffs,                    TESTIMONY OF GENE DEETZ
    16                                             SUPPORTING DEFENDANTS
             v.                                    ALAN HAYMON DEVELOPMENT,
    17                                             INC., HAYMON BOXING LLC,
       ALAN HAYMON, et al.,                        HAYMON BOXING
    18                                             MANAGEMENT, HAYMON
                    Defendants.                    HOLDINGS LLC, AND HAYMON
    19                                             SPORTS LLC’S
                                                   MOTION FOR
    20                                             SUMMARY JUDGMENT
    21
    22                                             Judge:Hon. John F. Walter
                                                   Hearing Date: November 28, 2016
    23                                             Time: 1:30 p.m.
                                                   Place: Courtroom No. 7A
    24
    25
                                                   Filing Date:May 5, 2015
    26                                             Trial Date: March 14, 2017
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                                                              Case No. 2:15-cv-3378-JFW (MRWx)
           EXCERPTED DEPOSITION TESTIMONY OF GENE DEETZ SUPPORTING DEFENDANTS’ REPLIES ISO
                                                     THEIR MOTIONS FOR SUMMARY JUDGMENT
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     1         EXCERPTED DEPOSITION TESTIMONY OF GENE DEETZ
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    11 DATED: November 14, 2016              Respectfully submitted,
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                                                 -2-          Case No. 2:15-cv-3378-JFW (MRWx)
           EXCERPTED DEPOSITION TESTIMONY OF GENE DEETZ SUPPORTING DEFENDANTS’ REPLIES ISO
                                                     THEIR MOTIONS FOR SUMMARY JUDGMENT
